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                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                        PORTLAND DIVISION

    ANGELA BRANFORD,                                                                   3:17-cv-00094-SI

                    PLAINTIFF,
                                                          DECLARATION OF BARRY RENNA
           v.                                             IN SUPPORT OF DEFENDANT CITY
                                                          OF PORTLAND’S MOTION TO
    WASHINGTON COUNTY, OREGON;                            DISMISS
    PAT GARRETT; JONATHAN
    CHRISTENSEN; JOHN BLACK; THE
    CITY OF PORTLAND, OREGON,

                    DEFENDANTS.


    I, BARRY RENNA, being first duly sworn, depose and declare as follows:

           1.       I am an investigator for the Portland Police Bureau where I currently work in the
    Internal Affairs Division.

           2.       I make this declaration in support of Defendant City of Portland’s Motion to

    Dismiss Plaintiff’s Complaint.

           3.       I make this declaration based upon personal knowledge.

           4.       At the end of April of 2015, I was notified that PPB was going to handle a

    criminal investigation and IA investigation on behalf of the Washington County Sheriff’s Office

    related to allegations of wrongdoing by some of its members. It had been my understanding that



Page 1 – DECLARATION OF BARRY RENNA

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    PPB was originally going to fully handle these matters as a way for Washington County to assure

    transparency.

            5.       However, as time passed and Lt. John Black from Washington County Sheriff’s

    Office’s Internal Affairs Division continued to be involved in the IA investigations, it became

    clear that Washington County was continuing to take a primary role in the IA investigations of

    its members.

            6.       Most of the IA duties I performed were conducting or sitting in on interviews.

    Two interviews I did sit in on were of an N. Markos. At the conclusion of the N. Markos

    interviews, Washington County Sheriff’s Office generated a document, a part of which I am

    informed by counsel is Exhibit A to this Declaration in support of the Motion to Dismiss.

            7.       Having reviewed the document being presented as my Exhibit A, I affirm I have

    personal knowledge of this document in that I have seen it and read it prior to this litigation. I

    affirm it is a true and correct copy of the Memorandum drafted by Lt. John Black that I was

    copied on, documenting the result of the N. Markos IA investigation. Further, having reviewed

    pages 1 through 6 of that document, I affirm that this description accurately describes the

    relationship between the IA Divisions of PPB and Washington County Sheriff’s Office as the

    whole IA investigation unfolded.

            8.       As part of a visit I had with Lt. John Black of Washington County Sheriff’s Office at
    PPB, I observed Lt. Black speak to Detective Jeff Myers about whether he had learned anything in

    the course of his criminal investigation that would pertain to the IA investigation of any Washington

    County Sheriff’s Office member, particularly N. Markos. During this conversation, Det. Myers

    informed Lt. Black about the existence of Ms. Angela Branford’s cell phone contents. Lt. Black

    requested a copy of the cell phone contents so that he could determine whether there was any

    evidence on it linking N. Markos to conduct warranting discipline. A copy of the contents of Ms.

    Branford’s phone was eventually given to Lt. Black for the sole law enforcement purpose of assisting

    in an IA investigation.

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           I hereby declare that the above statement is true to the best of my knowledge and

    belief, and that I understand it is made for use as evidence in court and is subject to penalty

    for perjury.
                          ,./^
           DATED this ^ day of March 2017.



                                                  Barry Renna




Page 3 - DECLARATION OF BARRY RENNA

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                                    CERTIFICATE OF SERVICE
           I hereby certify that I served the foregoing DECLARATION OF BARRY RENNA IN

    SUPPORT OF DEFENDANT CITY OF PORTLAND’S MOTION TO DISMISS on:

           Daniel Snyder                                     Karen O’Kasey
           Law Offices of Daniel Snyder                      Hart Wagner, LLP
           1000 SW Broadway, Ste. 2400                       1000 SW Broadway, Ste. 2000
           Portland, OR 97205                                Portland, OR 97205
                  Attorney for Plaintiff                            Attorney for Defendants Washington
                                                                    County, Pat Garrett, and John Black
    on March 29, 2017, by causing a full, true and correct copy thereof, addressed to the last-known

    address (or fax number) of said attorneys, to be sent by the following method(s):

             by CM/ECF notice of electronic filing pursuant to LR 5-4; and

           Jonathan Christensen
           6875 SW 142nd Ave.
           Beaverton, OR 97008
                  Defendant Pro Se
    on March 29, 2017, by causing a full, true and correct copy thereof, addressed to the last-known

    address (or fax number) of said Defendant, to be sent by the following method(s):

             by mail in a sealed envelope, with postage paid, and deposited with the U.S. Postal
             Service in Portland, Oregon.

           DATED: March 29, 2017.


                                                   Respectfully submitted,



                                                   /s/Andrea Barraclough
                                                   Andrea Barraclough, OSB No. 122371
                                                   Deputy City Attorney
                                                   Email: andrea.barraclough@portlandoregon.gov
                                                   Attorney for Defendant City of Portland




Page 1 – CERTIFICATE OF SERVICE

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